2AO 245C (Rev.Case    2:10-cr-00248-JCM-GWF
              ) Amended Judgment in a Criminal Case                Document 121            Filed 09/27/12 (NOTE:
                                                                                                                  Page     1 of
                                                                                                                      Identify    10 with Asterisks (*))
                                                                                                                               Changes
                Sheet 1


                                            UNITED STATES DISTRICT COURT
                                                                        District of
           UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
                                                                                 Case Number: 2:10-CR-248-JCM-GWF
          RAYMUNDO RODRIGUEZ-JIMENEZ
                                                                                 USM Number: 44991-048
Date of Original Judgment:                                                       SETH RESZKO
(Or Date of Last Amended Judgment)                                               Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
✔ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
G                                                                                     to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                 G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                   G 18 U.S.C. § 3559(c)(7)
                                                                                 G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
✔ pleaded guilty to count(s) ONE [1] OF THE INDICTMENT
G
G pleaded nolo contendere to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                             Offense Ended                 Count
 21USC§§846 and 841                   Conspiracy to Distribute a Controlled Substance                                5/19/2010                    1

 (a)(1),(b)(1)(A)(viii)


       The defendant is sentenced as provided in pages 2 through                  7         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
✔ Count(s) ALL REMAINING
G                                                     ✔are dismissed on the motion of the United States.
                                                 G is G
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 7/11/2011
                                                                                Date of Imposition of Judgment


                                                                                 Signature of Judge
                                                                                 JAMES C. MAHAN,                                 U.S. DISTRICT JUDGE
                                                                                 Name of Judge                                   Title of Judge
                                                                                  September 27, 2012
                                                                                 Date
 AO 245C     Case
            (Rev.     2:10-cr-00248-JCM-GWF
                  ) Amended Judgment in a Criminal Case    Document 121           Filed 09/27/12          Page 2 of 10
            Sheet 2 — Imprisonment                                                                        (NOTE: Identify Changes with Asterisks (*))

                                                                                                       Judgment — Page       2     of         7
 DEFENDANT: RAYMUNDO RODRIGUEZ-JIMENEZ
 CASE NUMBER: 2:10-CR-248-JCM-GWF

                                                               IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of
FIFTY-ONE (51) MONTHS




 G The court makes the following recommendations to the Bureau of Prisons:




 ✔ The defendant is remanded to the custody of the United States Marshal.
 G

 G The defendant shall surrender to the United States Marshal for this district:
      G     at                                      G     a.m   G     p.m.        on                                     .

      G     as notified by the United States Marshal.

 G    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

      G     before 2 p.m. on                                             .

      G     as notified by the United States Marshal.

      G     as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




      Defendant delivered on                                                           to

 at                                                       with a certified copy of this judgment.




                                                                                                    UNITED STATES MARSHAL


                                                                             By
                                                                                              DEPUTY UNITED STATES MARSHAL
                  Case 2:10-cr-00248-JCM-GWF                        Document 121         Filed 09/27/12           Page 3 of 10
 AO 245C         (Rev. ) Amended Judgment in a Criminal Case
                 Sheet 3 — Supervised Release                                                                (NOTE: Identify Changes with Asterisks (*))

                                                                                                          Judgment—Page        33     of         7
 DEFENDANT: RAYMUNDO RODRIGUEZ-JIMENEZ
 CASE NUMBER: 2:10-CR-248-JCM-GWF
                                                             SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of

FIVE (5) YEARS


 The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of
          Thethedefendant
                 Bureau ofmust
                             Prisons.
                                 report to the probation office in the district to which the defendant is released within 72 hours of release from
 the
 Thecustody   of the
      defendant      Bureau
                  shall       of Prisons.
                        not commit   another federal, state or local crime.
 The  defendant   shall not unlawfully
 The defendant shall not commit another possess   a controlled
                                             federal,  state, orsubstance.  The defendant shall refrain from any unlawful use of a controlled
                                                                 local crime.
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 The  defendant
 thereafter, as  shall not unlawfully
                determined              possess toa exceed
                                                    controlled  substance.  The defendant shall   refrain from
                                                                                                             for any unlawful   use of a controlled
 substance.   The  defendantby  the submit
                              shall court,  not
                                            to one          104within
                                                     drug test   tests annually.
                                                                       15 days ofRevocation  is mandatory
                                                                                  release from  imprisonment     refusal
                                                                                                                 and     to comply.
                                                                                                                     at least two periodic drug tests
 thereafter, as determined by the court.
 G      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 ✔ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 G
 ✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 G
 G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
 G      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
 the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)                                       
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)    the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
         record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
         defendant’s compliance with such notification requirement.
           Case 2:10-cr-00248-JCM-GWF                         Document 121   Filed 09/27/12       Page 4 of 10
AO 245C    (Rev. ) Amended Judgment in a Criminal Case
           Sheet 3C — Supervised Release                                                     (NOTE: Identify Changes with Asterisks (*))

                                                                                          Judgment—Page        4      of         7
DEFENDANT: RAYMUNDO RODRIGUEZ-JIMENEZ
CASE NUMBER: 2:10-CR-248-JCM-GWF

                                       SPECIAL CONDITIONS OF SUPERVISION
1. Possession of Weapons - You shall not possess, have under your control, or have access to any firearm, explosive
device, or other dangerous weapons, as defined by federal, state, or local law.

2. Warrantless Search - You shall submit your person, property, residence, place of business and vehicle under your
control to a search conducted by the United States Probation Officer or any authorized person under the immediate and
personal supervision of the probation officer, at a reasonable time and in a reasonable manner, based upon reasonable
suspicion of contraband or evidence of a violation of a condition of supervision; failure to submit to a search may be
grounds for revocation; the defendant shall inform any other occupant that the premises may be subject to a search
pursuant to this condition.

3. Deportation Compliance - You shall not re-enter the United States without legal authorization.

4. Report to Probation Officer After Release From Custody - You shall report in person, to the probation office in the
district in which you are released within 72 hours of discharge from custody.

Note: A written statement of the conditions of release was provided to the Defendant by the Probation Officer in open
court at the time of sentencing.
            Case 2:10-cr-00248-JCM-GWF                        Document 121             Filed 09/27/12        Page 5 of 10
AO 245C    (Rev. ) Amended Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties                                                        (NOTE: Identify Changes with Asterisks (*))

                                                                                                  Judgment — Page     55     of            7
DEFENDANT: RAYMUNDO RODRIGUEZ-JIMENEZ
CASE NUMBER: 2:10-CR-248-JCM-GWF
                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                       Fine                              Restitution
TOTALS           $ 100.00                                          $ WAIVED                           $ N/A


G The determination of restitution is deferred until                         . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                    Total Loss*              Restitution Ordered       Priority or Percentage




TOTALS                                                         $                           $

G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for           G fine      G restitution.
     G the interest requirement for            G     fine     G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
             Case 2:10-cr-00248-JCM-GWF                         Document 121           Filed 09/27/12          Page 6 of 10
AO 245C     (Rev. ) Amended Judgment in a Criminal Case
            Sheet 6 — Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks (*))

                                                                                                       Judgment — Page      66      of         7
DEFENDANT: RAYMUNDO RODRIGUEZ-JIMENEZ
CASE NUMBER: 2:10-CR-248-JCM-GWF

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔ Lump sum payment of $ 100.00
     G                                                         due immediately, balance due

          G not later than                                        , or
          G in accordance with G C, G D, G                        E, or   G F below; or
B    G Payment to begin immediately (may be combined with G C,                      G D, or     G F below); or
C    G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
G
    FINAL ORDER OF FORFEITURE ATTACHED


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                   Case 2:10-cr-00248-JCM-GWF                              Document 121          Filed 09/27/12           Page 7 of 10
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                                                          DENIAL OF FEDERAL BENEFITS
                                             (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

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FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

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          Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health,
disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required
for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:


                                    U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
        Case
         Case2:10-cr-00248-JCM-GWF
               2:10-cr-00248-JCM -GWF Document
                                       Document121
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                                                          03/22/12 Page  of310



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 6                               UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                          )
                                                        )
 9                          Plaintiff,                  )
            v.                                          )
10                                                      )           2:10-CR-248-JCM (GWF)
     RAYMUNDO RODRIGUEZ-JIMENEZ,                        )
11                                                      )
                                                        )
12                         Defendant.                   )

13                          AMENDED FINAL ORDER OF FORFEITURE

14          On February 14, 2011, the United States District Court for the District of Nevada entered a

15   Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

16   States Code, Section 924(d)(1), (2)(C), and (3)(B) and Title 28, United States Code, Section 2461(c);

17   Title 21, United States Code, Section 853(a)(1), (a)(2), and (p); and Title 21, United States Code,

18   Section 881(a)(11) and Title 28, United States Code, Section 2461(c), based upon the plea of guilty

19   by defendant Raymundo Rodriguez-Jimenez to a criminal offense, forfeiting specific property

20   alleged in the Indictment and shown by the United States to have a requisite nexus to the offense to

21   which defendant Raymundo Rodriguez-Jimenez pled guilty. (Indictment, ECF No. 16; Change of

22   Plea Minutes, ECF No. 49; Preliminary Order of Forfeiture, ECF No. 50; Plea Memorandum, ECF

23   No. 51).

24   ...

25   ...

26   ...
        Case
         Case2:10-cr-00248-JCM-GWF
               2:10-cr-00248-JCM -GWF Document
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                                                          03/22/12 Page  of310



 1          This Court finds the United States of America published the notice of the forfeiture in

 2   accordance with the law via the official government internet forfeiture site, www.forfeiture.gov,

 3   consecutively from March 1, 2011, through March 30, 2011, notifying all known third parties of their

 4   right to petition the Court. (Notice of Filing Proof of Publication, ECF No. 60).

 5          This Court finds no petition was filed herein by or on behalf of any person or entity and the

 6   time for filing such petitions and claims has expired.

 7          This Court finds no petitions are pending with regard to the assets named herein and the time

 8   for presenting such petitions has expired.

 9          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

10   title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

11   United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

12   32.2(c)(2); Title 18, United States Code, Section 924(d)(1), (2)(C), and (3)(B) and Title 28, United

13   States Code, Section 2461(c); Title 21, United States Code, Section 853(a)(1), (a)(2), and (p); and

14   Title 21, United States Code, Section 881(a)(11) and Title 28, United States Code, Section 2461(c),

15   and Title 21, United States Code, Section 853(n)(7) and shall be disposed of according to law:

16          a) a Star Firestar 45, .45 caliber semiautomatic handgun with serial number 2059799;

17          b) any and all ammunition; and

18          c) an in personam criminal forfeiture money judgment of $12,500.00 in United States

19          currency.

20   ...

21   ...

22   ...

23   ...

24   ...

25   ...

26   ...
       Case 2:10-cr-00248-JCM-GWF
         Case 2:10-cr-00248-JCM -GWFDocument
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                                                         03/22/12 Page
                                                                  Page 10
                                                                       3 ofof310



 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited

 2   funds, including but not limited to, currency, currency equivalents, certificates of deposit, as well

 3   as any income derived as a result of the United States of America’s management of any property

 4   forfeited herein, and the proceeds from the sale of any forfeited property shall be disposed of

 5   according to law.

 6          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

 7   certified copies to the United States Attorney’s Office.

 8                March
            DATED this    22, 2012.
                       _________ day of _______________, 2012.

 9

10                                         UNITED STATES DISTRICT JUDGE

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